    2:22-cv-02211-BHH-MGB                Date Filed 03/14/23     Entry Number 76         Page 1 of 2



                                                                             fJsoc C£fR1ftfrvr,o
Record/FILE ON DEMAND                                                       "' IIA,
                                                                            <u/J        ' Cf/4/?tfsro,
                               UNITED STATES DISTRICT COURT                         'N ,, Alt        'N.sc
                          FOR THE DISTRICT OF SOUTH CAROLINA                                    9: SJ
                                        CHARLESTON DIVISION



Nelson L. Bruce,                                        CASE NO.: 2:22-cv-02211-BHH-MGB

                        Plaintiff(s),
                                                        REQUEST FOR ENTRY OF DEFAULT
                            vs.

PENTAGON FEDERAL CREDIT UNION
("PENFED"), et al..

                        Defendant( s).

      Comes now Plaintiff, Nelson L. Bruce a natural man, being at or above the age of 18, of the

age of the majority, with reservation of any and all natural rights, and hereby exercise such rights at

all times and hereby requests the clerk to enter a default against the defendant, LexisNexis Risk

Management, Inc. (ECF No. 69) as defendant was served and required to respond by March 8, 2023

(See ... ECF No. 69). An Entry of default is being requested on the basis that the record in this case

demonstrates that there has been a failure to plead or otherwise defend as provided by Rule SS(a) of

the Federal Rules of Civil Procedure. An affidavit in support of this request is attached hereto.

DATED this     ,th. day of March, 2023.




                                                                     Nelson L. Bruce, Petitioner, Sui Juris
                                                    "All Natural Rights Explicitly Reserved and Retained"
                                                                         .                    U.C.C. 1-308
                                                 c/o P.O. Box 3345, Summerville, South Carolina [29484]
                                                                          Email: 1eonbruce8 l @yahoo.com
                                                                                     Phone: 843-437-7901
    2:22-cv-02211-BHH-MGB                 Date Filed 03/14/23    Entry Number 76       Page 2 of 2




Record/FILE ON DEMAND
                                UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                         CHARLESTON DIVISION

Nelson L. Bruce,                                       CASE NO.: 2:22-cv-02211-BHH-MGB

                         Plaintiff(s),

                   vs.

PENTAGON FEDERAL CREDIT UNION
("PENFED"), et al..

                         Defendant( s).




                                          ENTRY OF DEFAULT

       It appearing that the amended complaint was filed in this case on November 2, 2022

(ECF No. 3 1) ; that the summons and complaint were duly served upon the defendant,

LexisNexis Risk Management, Inc., and no answer or other pleading has been filed by said

defendant as required by law;

       Therefore, upon request of the plaintiff, default is hereby enter.ed against the defendant,

LexisNexis Risk Management, Inc. as provided in Rule 55(a), of the Federal Rules of Civil

Procedure.




                                                                - - - - - - - - - - - -,             Clerk



                                                       By _ _ _ _ _ _ _ _ __ __ _
                                                             Deputy Clerk
